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                                                                                2018 Nov-21 PM 04:04
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA
                    UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


TERRY HARRIS,                             )
                                          )
      Plaintiff,                          )
                                          )       Civil Action Number
v.                                        )       5:18-CV-01270-AKK
                                          )
UNIVERSAL LOGISTICS, et al.,              )
                                          )
      Defendants.                         )


                          MEMORANDUM OPINION

      Terry Harris filed this lawsuit against Logistics Insight Corporation

(“Logistics Insight”), incorrectly designated as Universal Logistics, and several of

its employees including, Justin Evans, Chris Pepsin, Crystal Dixon, and Matt

Muesch    (hereinafter   collectively   the   “Individual   Defendants”),   alleging

discrimination and retaliation under the Americans with Disabilities Act of 1990,

42 U.S.C. § 12112 et seq. (“ADA”) and race discrimination under Title VII of the

Civil Rights Acts of 1964, 42 U.S.C. § 2000e-2 (“Title VII”). Doc. 1. Defendants

have moved for summary judgment, doc. 8, and Harris responded with what

appears to be a new claim for discrimination against separate non-parties, doc. 16,

and by filing two separate documents tilted as motions for summary judgment,

docs. 17 and 20.     Defendants replied in support of their initial motion and

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responded to Harris’s motions for summary judgment. Docs. 19; 21; 23. Based on

the evidence and consideration of relevant law, Defendants’ motion, doc. 9, is due

to be granted, and Harris’s motions are due to be denied.

      I. LEGAL STANDARD FOR SUMMARY JUDGMENT

      Under Rule 56(a) of the Federal Rules of Civil Procedure, summary

judgment is proper “if the movant shows that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56. “Rule 56[] mandates the entry of summary judgment, after adequate

time for discovery and upon motion, against a party who fails to make a showing

sufficient to establish the existence of an element essential to that party’s case, and

on which that party will bear the burden of proof at trial.” Celotex Corp. v.

Catrett, 477 U.S. 317, 322 (1986) (alteration in original). The moving party bears

the initial burden of proving the absence of a genuine issue of material fact. Id. at

323. The burden then shifts to the nonmoving party, who is required to “go

beyond the pleadings” to establish that there is a “genuine issue for trial.” Id. at

324 (citation and internal quotation marks omitted). A dispute about a material

fact is genuine “if the evidence is such that a reasonable jury could return a verdict

for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

(1986).



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      On summary judgment motions, the court must construe the evidence and all

reasonable inferences arising from it in the light most favorable to the non-moving

party. Adickes v. S. H. Kress & Co., 398 U.S. 144, 157 (1970); see also Anderson,

477 U.S. at 255. Any factual disputes will be resolved in the non-moving party’s

favor when sufficient competent evidence supports the non-moving party’s version

of the disputed facts. See Pace v. Capobianco, 283 F.3d 1275, 1276, 1278 (11th

Cir. 2002) (a court is not required to resolve disputes in the non-moving party’s

favor when that party’s version of events is supported by insufficient evidence).

However, “mere conclusions and unsupported factual allegations are legally

insufficient to defeat a summary judgment motion.” Ellis v. England, 432 F.3d

1321, 1326 (11th Cir. 2005) (per curiam) (citing Bald Mountain Park, Ltd. v.

Oliver, 863 F.2d 1560, 1563 (11th Cir. 1989)). Moreover, “[a] mere ‘scintilla’ of

evidence supporting the opposing party’s position will not suffice; there must be

enough of a showing that the jury could reasonably find for that party.” Walker v.

Darby, 911 F.2d 1573, 1577 (11th Cir. 1990) (citing Anderson, 477 U.S. at 252).

      II. FACTUAL BACKGROUND

      The following facts reflect an assessment of the record in the light most

favorable to Harris. Since 2016, Harris, an African American man, has worked for

Logistics Insight in Huntsville, Alabama as a forklift operator and auditor. Docs. 1

at 8; 9 at 2. On March 3, 2017, Harris sustained an injury when he fell out of a

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trailer truck onto a loading dock. Docs. 1 at 8; 8-1 at 2; 9 at 2; 17 at 2. Harris

maintains that although he filed an incident report that day with human resource

representative Crystal Dixon, Dixon denied him permission to seek treatment

despite indications that Harris was bleeding and in pain. Doc. 1 at 8. Harris

contends that his supervisor, Justin Evans, gave him two options—continue

working or termination. Id. Harris worked for seventeen days in severe pain until

Dixon instructed him to go to the hospital. Id. Although Defendants deny this

account, see docs 8-1 at 2, the parties agree that Harris eventually received medical

treatment and was placed on medical leave from late March until mid-December

2017. Docs. 1 at 8; 8-1 at 2-3; 17 at 3.

       Harris’s physician released Harris to return to work with lifting restrictions

beginning on December 12, 2017. Docs. 1 at 8; 8-1 at 3; 17 at 2-3. Within a week

of his return, Harris maintains that Logistics Insight disciplined him and prevented

him from attending physical therapy sessions. Doc. 20. At some point, Dixon and

Pepsin (a supervisor) wrote Harris up for “no call/no show.” Docs. 1 at 8; 17 at 2.

In addition, Evans allegedly discharged Harris over the phone due to misconduct1

and instructed Harris to immediately return to work and gather his belongings.




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  The misconduct purportedly included moving materials to incorrect locations, leaving an iPad
in his locker, failing to audit correctly, losing inventory parts, unsatisfactory work quality, failure
to follow instructions, and leaving work without clocking out. Doc. 1 at 11.
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Doc. 17. When Harris arrived at work, however, Evans rescinded the discharge.

Doc. 1 at 8.

      Defendants assert that they have no records of reprimanding Harris for “no

call no show” and Dixon denies ever issuing any reprimand. Docs. 8-1 at 3; 9 at 3.

Both parties submitted documentation of three “Employee Corrective Action”

forms indicating that Harris “missed scans on critical parts” on December 17,

“moved material to incorrect locations” on December 19, and “failed to turn in

company property before the end of a shift” on December 19. Docs. 9 at 3-4; 8-1 at

5-7; 20 at 3-9. However, Logistics Insight denies it discharged Harris and notes

that Harris’s hourly pay rate increased and that Harris is still employed with the

company. Doc. 8-1 at 5-7. Indeed, Harris concedes in his declaration opposing

summary judgment that he is “an employee of [Logistics Insight]” and is

“employed by Logistics Insight Corporation as an Auditor.” Docs. 16 at 2; 17 at 2.

      III. ANALYSIS

      Before turning to Defendants’ summary judgment motion, doc. 9, the court

will address three initial matters regarding a few of Harris’s incognizable claims.

First, “[i]ndividual capacity suits under Title VII [and the ADA] are . . .

inappropriate” because “Title VII [and the ADA are] against the employer, not

individual employees whose actions would constitute a violation of the Act.”

Busby v. City of Orlando, 931 F.2d 764, 772 (11th Cir. 1991); see also Albra v.

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Advan, Inc., 490 F.3d 826 (11th Cir. 2007) (holding that individual liability is

precluded for violations of the ADA’s employment discrimination provision).

Therefore, the Individual Defendants’ motion is due to be granted because “the

proper method for a plaintiff to recover under Title VII [and the ADA] is by suing

the employer, either by naming the supervisory employees as agents of the

employer or by naming the employer directly.” Busby, 931 F.2d at 772.

       Second, Harris’s claims in this lawsuit are limited to those he raised in his

EEOC charge, i.e. race discrimination and disability discrimination and retaliation

claims. 2 Doc. 1 at 8. This is because “[a]n employee must exhaust administrative

remedies before filing a complaint of discrimination under Title VII of the Civil

Rights Act and Title I of the Americans with Disabilities Act.” Stamper v. Duval

Cty. Sch. Bd., 863 F.3d 1336, 1339–40 (11th Cir. 2017) (citing Wilkerson v.

Grinnell Corp., 270 F.3d 1314, 1317 (11th Cir. 2001) (Title VII) and Maynard v.

2
  Although Harris also alleges race discrimination in his EEOC charge, the charge limited his
claim to the denial of medical relief after his workplace injury and to the discipline he received
when he returned from medical leave. Doc. 1 at 8. However, in the complaint he filed in this
court, he only describes the alleged racially discriminatory incidents in a four page letter that he
attached to his “Complaint for Employment Discrimination.” Id. at 5, 10-13. This letter includes
allegations that he never raised to the EEOC. Moreover, the letter is not proper evidence for
summary judgment purposes. Ellis, 432 F.3d at 1326 (holding that “mere conclusions and
unsupported factual allegations are legally insufficient to defeat a summary judgment motion”).
Rule 56(c) of the Federal Rules of Civil Procedure dictates that parties can assert facts by “citing
to particular parts of materials in the record, including depositions, documents, electronically
stored information, affidavits or declarations, stipulations (including those made for purposes of
the motion only), admissions, interrogatory answers, or other materials.” Because Harris’s race
allegations in his complaint are not supported by any affidavit or declaration, the court limits its
review of the record to the disability allegations which are supported by the initial EEOC charge,
declarations, and employee file, including Harris’s employee corrective action forms. Docs. 1 at
8; 17, 20.
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Pneumatic Prods. Corp., 256 F.3d 1259, 1262 (11th Cir. 2001) (ADA)).

Moreover, a failure to mention specific claims or events that gave rise to that claim

“would otherwise preclude the EEOC from performing its role in obtaining

voluntary compliance and promoting conciliation efforts on that claim.” Litman v.

Sec’y, of the Navy, 703 F. App’x 766, 771-72 (11th Cir. 2017). Thus, the court

need not consider the new claims Harris raised in his complaint, doc. 1, or response

opposing summary judgment, doc. 16.

      Third, although “a pro se complaint, however inartfully pleaded, must be

held to less stringent standards than formal pleadings drafted by lawyers,” Estelle

v. Gamble, 429 U.S. 97, 106 (1976), the court may not “serve as de facto counsel

for a party.” Campbell v. Air Jamaica Ltd., 760 F.3d 1165, 1168–69 (11th Cir.

2014).    Relevant here, Harris’s response to Defendants’ motion raises new

allegations regarding false statements and discrimination that are appropriate for a

new claim against the non-parties Athens Thrift Store, Joanna Thompson, and Ron

Dabbs. Doc. 16 at 1-2. Also, in his two summary judgment motions, Harris

contends that there are “genuine issue[s]” and that he is “entitled to judgment as a

matter of law.” Docs. 17; 20.      Because Harris’s motions actually outline his

reasons for why he believes the court should deny Defendants’ motion, the court

will treat his motions as responses in opposition to Defendants’ motion under Rule



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56(c)(3), which allows the court to “consider other materials in the record”

including his attached exhibits and declarations. Docs. 17 at 2-3; 20 at 3-9.

      Having addressed these preliminary issues, the court will now turn to

Harris’s three surviving claims beginning with the Title VII race discrimination

claim in Section A, ADA discrimination claim in Section B, and ADA retaliation

claim in Section C.

      A. Title VII Race Discrimination Claim

      Harris alleges that Logistics Insight discriminated against him based on his

race when it issued him three corrective actions, wrote him up for “no call/no

shows,” and discharged him. Doc. 1 at 12-13. Title VII makes it unlawful for an

employer “to discriminate against any individual with respect to his compensation,

terms, conditions, or privileges of employment, because of such individual’s race.”

42 U.S.C. § 2000e–2(a)(1). “[A]n adverse employment action motivated by both

legal and illegal reasons constitutes actionable discrimination under Title VII.”

Quigg v. Thomas Cty. Sch. Dist., 814 F.3d 1227, 1236 (11th Cir. 2016) (citing

Price Waterhouse v. Hopkins, 490 U.S. 228 (1989)). Discrimination claims

brought under Title VII are typically categorized as either mixed-motive or single-

motive claims. Id. Whereas single-motive (or “pretext”) claims “require a showing

that bias was the true reason for the adverse action,” mixed motive claims require a

showing that an “illegal bias, such as bias based on sex or gender, ‘was a

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motivating factor for’ an adverse employment action, ‘even though other factors

also motivated’ the action.” Id. at 1235 (quoting 42 U.S.C. § 2000e–2(m)).

      Regardless of the theory Harris is asserting, Harris has failed to make the

requisite showing because he provides no support for his race discrimination

claims other than his complaint, and the exhibits and declaration he offers only

support his ADA disability claims. Docs. 1; 17; 20. Although he alleges many

incidents of race discrimination in his complaint, his EEOC charge where he

declares “I am a Black individual with a disability” is the only factual support he

offers for the race discrimination claim. Doc. 1 at 8. At the summary judgment

stage, such conclusory statements are insufficient without citations “to particular

parts of materials in the record, including depositions, documents, electronically

stored information, affidavits or declarations, stipulations (including those made

for purposes of the motion only), admissions, interrogatory answers, or other

materials.” Fed. R. Civ. P. 56(c). Accordingly, Harris failed to make out a prima

facie case under Title VII and offers no “convincing mosaic of circumstantial

evidence that would allow a jury to infer intentional discrimination by the decision

maker.” Smith v. Lockheed–Martin, Corp., 644 F.3d 1321, 1328 (11th Cir.2011).

Therefore, his race discrimination claim fails. See Celotex, 477 U.S. at 318 (“The

moving party is entitled to a judgment as a matter of law [when] the nonmoving



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party has failed to make a sufficient showing on an essential element of its case

with respect to which it has the burden of proof.”).

      B. ADA Discrimination

      Harris also asserts a claim for disability discrimination based on the

reprimands and his purported discharge. Doc. 1 at 8, 10-11. The ADA forbids

covered employers from discriminating “against a qualified individual with a

disability because of the disability of such individual in regard to . . . discharge of

employees.” 42 U.S.C. § 12112(a) (2000). Where, as here, Harris does not allege

direct evidence of discrimination, the court will analyze his claim under the

McDonnell Douglas burden-shifting framework. See Holly v. Clairson Indus.,

L.L.C., 492 F.3d 1247, 1255 (11th Cir. 2007). To establish a prima facie case of

ADA discrimination, Harris must show: (1) he had a real or perceived disability;

(2) he was otherwise qualified to perform the essential functions of the job; and (3)

his employer discriminated against him based on his disability. Williams v.

Motorola, Inc., 303 F.3d 1284, 1290 (11th Cir. 2002). Logistics Insight contends

that Harris never offered factual support or identified a disability in his complaint

or EEOC charge. Docs. 9 at 8-13; 21 4-10. The court agrees.

      It is undisputed that Harris sustained an injury at the worksite. Still, “[n]ot

all impairments automatically qualify individuals for protection under federal

disabilities law.” Forbes v. St. Thomas Univ., Inc., 768 F. Supp. 2d 1222, 1228

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(S.D. Fla. 2010). The ADA defines “disability” as “(A) a physical or mental

impairment that substantially limits one or more of the major life activities of such

individual; (B) a record of such an impairment; or (C) being regarded as having

such an impairment.” 42 U.S.C. § 12102(2). Harris’s proof of disability includes

conclusory statements without factual support, such as “I am a Black individual

with a disability,” and descriptions of a hospital visit, pain, therapy, and work

restrictions. Docs. 1 at 8; 17 at 3. However, based on the presented evidence, the

court cannot discern whether Harris’s injury was “short-term, temporary, and

contemporaneous with [his] treatment,” or whether he “suffer[ed] from any long-

term or permanent side-effects of sufficient severity to constitute a disability.”

Garrett v. Univ. of Alabama at Birmingham Bd. of Trustees, 507 F.3d 1306, 1315

(11th Cir. 2007). Harris has presented absolutely no evidence that suggests that he

had an impairment that substantially limited any major life activities. At best, his

injury left him temporarily incapacitated, and a “temporary inability to work while

recuperating from surgery is not such a permanent or long-term impairment and

does not constitute evidence of a disability covered by the Act.” See Sutton v.

Lader, 185 F.3d 1203, 1209 (11th Cir. 1999).

      Moreover, Harris has offered no record of a disability. A person has a record

of a disability if “a record relied upon by an employer indicates that the individual

has or had a substantially limiting impairment.” 29 C.F.R. Pt. 1640 App. §

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1630.2(k). Both parties agree that Harris was placed on workers’ compensation

leave, he attended physical therapy, and his doctor allowed him to return to work

ultimately with a light duty restriction. Docs. 1 at 7; 8-1 at 2-3; 20 at 3-4.

However, “a diminished activity tolerance for normal daily activities such as

lifting, running and performing manual tasks, as well as a lifting restriction, does

not constitute a disability under the [ADA].” Chanda v. Engelhard/ICC, 234 F.3d

1219, 1222 (11th Cir. 2000). Without factual support such as affidavits or medical

records based on objective criteria, Harris fails to demonstrate that his employer

believed he had a record of disability. See Carr v. Publix Super Markets, Inc., 170

F. App’x 57, 61 (11th Cir. 2006) (“Neither the x-rays or lifting restriction set out in

the physician’s note presented by [the employee] to Publix show a substantial

limitation sufficient to establish a record of a disabling impairment”).

      Finally, to be regarded as disabled, an employer must “believe either that [an

employee] has a substantially limiting impairment that one does not have or that

[an employee] has a substantially limiting impairment when, in fact, the

impairment is not so limiting.” Couts v. Beaulieu Grp., LLC, 288 F. Supp. 2d 1292,

1305 (N.D. Ga. 2003) (citing Sutton v. United Air Lines, Inc., 527 U.S. 471, 489

(1999)).    None of the evidence that Harris puts forth indicates that any

misperception existed on Logistics Insight’s part with regard to his injury.

McCollough v. Atlanta Beverage Co., 929 F. Supp. 1489, 1498 (N.D. Ga. 1996)

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(noting that the defendant did not regard plaintiff as disabled simply because

defendant discontinued plaintiff’s lifting duties as result of representations made

by plaintiff and plaintiff's physician); see also Couts, 288 F. Supp. 2d at 1304

(“[A]wareness, without more, is not sufficient to show that Defendant regarded

Plaintiff as disabled for purposes of the ADA.”).

      In short, Harris has failed to show that he is disabled under any of the three

definitions. Therefore, his ADA disability claim fails.

      C. ADA Retaliation

      Finally, Harris alleges that Logistics Insight retaliated against him for

engaging in protected activity in violation of the ADA. To establish a prima facie

case of retaliation, Harris must show that: (1) he engaged in statutorily protected

expression; (2) he suffered an adverse employment action; and (3) there is a causal

relation between the two events. See Thomas v. Cooper Lighting, Inc., 506 F.3d

1361, 1363 (11th Cir. 2007) (quotations omitted). Logistics Insight maintains that

Harris fails to meet all three of these prongs.

      First, contrary to Logistics Insight contention that Harris did not engage in a

protected activity, doc. 9 at 10, it is well established that protected activity includes

requests for a workplace accommodation. Meyer v. Sec’y, U.S. Dep’t of Health &

Human Servs., 592 F. App’x 786, 792 (11th Cir. 2014); see also Collins v.

Compass Grp., Inc., 965 F. Supp. 2d 1321 (N.D. Ala. 2013) (workplace

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accommodation request for dialysis appointment was protected activity); McClain

v. Tenax Corp., 304 F. Supp. 3d 1195, 1205 (S.D. Ala. 2018) (repeatedly

informing managers about difficult physical requirements of the job position was

protected activity). Moreover, the facts before the court belie Logistics Insight

contention that Harris “did not ask for an accommodation.” Doc. 9 at 10.

Specifically, the declaration of Harris indicates that “Harris was released by his

physician with lifting restrictions and he returned to work” the next day. Doc. 9-1

at 3. Also, Harris’s EEOC charge states that he “returned to work with restriction

of light duty and intermediate time off for physical therapy.” Doc. 1 at 8. Based on

these contentions, Harris’s triggering act for engagement in protected activity

occurred when he requested and received workplace accommodations for a light

duty schedule and leave to attend physical therapy.

      Turning to the next prong, Harris maintains that Defendants subjected him to

adverse employment actions by: (i) issuing him three reprimands/corrective action

forms; (ii) denying him time off for therapy; (iii) writing him up for “no call/no

show” and (iv) wrongfully discharging him and immediately rescinding the

discharge.   Docs. 1 at 8; 17 at 2; 20.          Both parties concede and provide

documentation that Harris received at least three “employee written correction”

forms less than a week after he returned to work with light duty restrictions. To

state a valid claim, however, Harris must demonstrate that these corrective actions

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resulted in “a significant change in employment status, such as hiring, firing,

failing to promote, [or] reassignment with significantly different responsibilities.”

Davis v. Town of Lake Park, Fla., 245 F.3d 1232, 1239 (11th Cir. 2001). A review

of the three reprimands shows no adverse consequence. Although two reprimands

state that suspension is the “consequence should the incident occur again,” Harris

was never suspended. Doc. 20 at 4-9. In that respect, to the extent that Harris

argues these written reprimands would have led to suspensions or a “progressively

higher category of violations,” there is no adverse action because it is “undisputed

that [Harris] has received no further discipline.” Houston v. City of Atlanta, No.

115CV03112TWTWEJ, 2017 WL 1380516, at *5 (N.D. Ga. Feb. 21, 2017), report

and recommendation adopted, No. 1:15-CV-3112-TWT, 2017 WL 1364866 (N.D.

Ga. Apr. 13, 2017), aff’d, 735 F. App’x 701 (11th Cir. 2018). Moreover,

Defendants maintain, and Harris does not dispute, that these reprimands led to “no

reduction in pay” or “affect[ed] [Harris’s] ability to obtain any future pay raises.”

Doc. 8-1 at 4. In fact, Harris received a pay rate raise in April 2017 after his

injury. Id. Therefore, because the record shows that Harris “was not demoted in

title, did not have his work schedule changed, was not reassigned to a different

position or location in the [workplace], did not have his hours or work changed or

altered in any way, and that he was not denied any pay raise or promotion as a

result of these reprimands,” Mieczkowski v. York City Sch. Dist., 414 F. App’x 441,

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447 (3d Cir. 2011), Harris has failed to demonstrate that these written reprimands

constituted an adverse employment action. See also Lucas v. W.W. Grainger, Inc.,

257 F.3d 1249, 1261 (11th Cir. 2001) (negative performance evaluations alone are

not adverse employment actions); Wallace v. Ga. Dep’t of Transp., 212 Fed.Appx.

799, 801 (11th Cir. 2006) (written reprimands without more do not constitute an

adverse employment actions).

      As for the alleged failure to allow Harris to attend physical therapy, Harris’s

“Excused Time Off Request Forms” indicate that he sought to take the entire day

off for therapy on two different days, and Logistics Insight denied his request

noting that “per instructions you are to be at work before [and] after physical

therapy.” Doc. 20 at 3-4. In other words, it seems Logistics Insight objected to

Harris’s request to take the entire day off rather than be excused solely for the

hours of his therapy sessions. Even if Harris is correct that Logistics Insight’s

response constituted a denial of his request to attend physical therapy, “the mere

denial of a request for a reasonable accommodation cannot be an adverse

employment action giving rise to a separate ADA retaliation claim.” McClain v.

Tenax Corp., 304 F. Supp. 3d 1195, 1206 (S.D. Ala. 2018) (noting that employees

would be “able to ‘double dip’ by asserting both ADA failure-to-accommodate and

ADA retaliation claims”).



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      Regarding workplace absences, Harris maintains that Dixon and Pepsin

issued several “no call/no show” write-ups but he offers no evidence of how they

led to “any [adverse] action—including termination, demotion, or even a

reprimand—that could have seriously affected [Harris’s] employment.” Howard v.

Walgreen Co., 605 F.3d 1239, 1245 (11th Cir. 2010) (finding that a supervisor’s

threat to an employee’s job over a “no call-no show” did not rise to an adverse

employment action without evidence of a concrete materially adverse effect).

      Finally, with respect to his purported termination, as Harris tells it, the

supervisor at issue rescinded the discharge the same day before Harris clocked out

of work. Doc. 1 at 8. In other words, the purported termination had no adverse

effect on Harris. See Stavropoulos v. Firestone, 361 F.3d 610, 617 (11th Cir.

2004), abrogated on other grounds by Burlington N. & Santa Fe Ry. Co. v. White,

548 U.S. 53 (2006) (an overridden vote to terminate plaintiff’s employment that

resulted in no pay or benefits loss was not an adverse action); Pennington v. City of

Huntsville, 261 F.3d 1262, 1263 (11th Cir. 2001) (“[T]he decision to reprimand or

transfer an employee, if rescinded before the employee suffers a tangible harm, is

not an adverse employment action”).

      Because there is no evidence that Harris suffered an adverse employment

action, the court finds that Harris has failed to demonstrate a prima facie case of



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ADA retaliation.3 Hall v. Alabama State Univ., No. 2:16-CV-593-GMB, 2018 WL

4088050, at *6–7 (M.D. Ala. Aug. 27, 2018) (granting summary judgment on

retaliation claim because the employee offered insufficient evidence of an adverse

employment action).

       IV. CONCLUSION

       For these reasons, Defendants’ summary judgment motion, doc. 8, is due to

be granted. Harris’s motions for summary judgment, docs. 17 and 20, are due to

be denied. A separate order will be issued.


       DONE the 21st day of November, 2018.




                                             ________________________________
                                                        ABDUL K. KALLON
                                               UNITED STATES DISTRICT JUDGE




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  Even if the court were to assume that Harris suffered an adverse employment action, Harris has
“failed to establish requisite causation between the adverse action and the protected expression.”
Embry v. Callahan Eye Found. Hosp., 147 F. App’x 819 (11th Cir. 2005). He offers no factual
support that the decision maker behind the purported adverse actions had knowledge of the
protected activity. See Shannon v. Bellsouth Telecomms, Inc., 292 F.3d 712, 716 (11th Cir.
2002) (“To establish a causal connection, a plaintiff must show that the decision-makers were
aware of the protected conduct, and that the protected activity and the adverse actions were not
wholly unrelated.”). Moreover, “[t]emporal proximity alone is insufficient to create a genuine
issue of fact as to causal connection…” Brungart v. BellSouth Telecommunications, Inc., 231
F.3d 791, 799 (11th Cir.2000).

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